Case 3:17-cv-00072-NKM-JCH Document 1123 Filed 09/27/21 Page 1of3 Pageid#: 18326

Vv

1)

 

Elizabeth Sines, et al

Jason Kesster, et al

IN THE UNITED STATES DISTRICT COURT FOR ER Es orrice us. DIST. COURT
AT CHARLOTTESVILE, VA
WESTERN DISTRICT OF VIRGINIA FILED

Charlottesville Division SEP 27 2621

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B i

Case No: 3:17-cv-072-NKM

 
 

Plaintiffs

Defendants

mea erie Fess

MOTION IN LIMINE FOR A DETERMINATION THAT NO PRIVATE RIGHT
OF ACTION LIES FOR CONSPIRACY TO VIOLATE A VIRGINIA STATE STATUTE
ABSENT ENFORCEMENT PROVISIONS, TO BAR PAINTIFFS FROM ARGUING THE
SAME, AND, TO CLARIFY WHETHER PLAINTIFFS HAVE PLED A VALID CLAIM
FOR CONSPIRACY TO COMMIT FALSE IMPRISONMENT

Comes’ Now the Defendant Christopher Cantwell, and, he Moves this Court
In Limine For A Determination That No Private Right Of Action Lies For
Conspiracy to Violate A Virginia State Statute Absent Enforcement Pro-
visions, To Bar Plaintiffs From Arguing The Same, And, to Clarify
Whether Plaintiffs Have Pled A Valid Claim for Conspiracy To Commit

False Imprisonment. In support, he states as follows:

Count Three of the instant Second Amended Complaint states that
Cantwell and his co-Defendants conspired civilly to commit a variety
of acts, including twelves acts of conspiracy to-violate ten Virginia
State statutes ranging from the severe,conspiracy to riot in viol-
ation of Va Ann Code §18.2-408, to the petty, conspiracy to commit
disorderly conduct in violation of Va Ann Code §18.2-415, to the
bizarre, conspiracy to violate a Virginia statute requiring thirty
days notice of intent to introduce evidence of prior bad acts, Va

Ann Cod §19.2-297.1.
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2)

3)

In Doe v Broderick225 F 3d 440 (4th Cir 2000), the Fourth Circuit
addressed the circumstances under which a statute carries an implied
right of private action. Following Cort v Ash 422 US 66 (1975},
California v Sierra Club 451 US 287 (1981), and, Cannon-v Univ of
Chicago 441 US 677 (1979), the Fourth Circuit found that there is
generally no right of private action to enforce a statute carrying
criminal penalties unless the statute specifically provides for

a private right of action. As such, the only: statute that Plaintiffs
have listed that provides for a private right of action is Va Ann
Code §8.01-42.1, and, Cantwell asks that the Court bar the Plaint-
iffs at triai from arguing that Cantwell is liable for conspiring

to violate any other state statute.

Further, in its order granting in part and denying in part the
Motion to Dismiss, Sines v Kessler 324 F Supp 765 (WD Va 2018),
the Court found that Count Three raised claims for conspiracy to
violate Va Ann Code §8.01-42.1 and to commit assault. It did not
address the claims for conspiracy to commit battery or false im-
prisonment. Cantwell still does not have adequate access to the
Second Amended Complaint to determine exactly what acts these al-
legations are based on, but, it does not appear that Plaintiffs
Romero or Doe are claiming battery; they do not appear to claim
that anyone offensively touched them. Assuming that the battery
claims apply to Wispelwey and the persons struck by Fields" car,
Cantwell sees no basis for a claim of conspiracy to commit false
imprisonment and would like the Court to clarify whether or not

he will have to defend against such a claim at trial.

Respectfully Submitted,

 

 

Christopher Cantwell
-?-
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CERTIFICATE OF SERVICE

I hereby certify that this Motion in Limine was mailed to the Clerk

of the Court, Ist Class Postage Prepaid, for posting on the ECF, to
which all parties are subscribed, and, handed to USP-Marion staff memb-
ers Nathan Simpkins and/or Kathy Hill for electronic transmission to

this Court, Ist Class. Postage Prepaid, this 27th day of September,

0 hy

Christopher Cantwell

2021.

 

 
